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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


UNITED STATES OF AMERICA,

v.                                             CRIMINAL ACTION FILE
                                               1:23-CR-047-MHC-JEM
KRISTOPHER KNEUBUHLER,

            Defendant.

                   ORDER CONTINUING SENTENCING

      This matter is before the Court is the Defendant’s Unopposed Motion to

Continue the Sentencing currently scheduled for January 9, 2024, [Doc. 56].

      IT IS HEREBY ORDERED that the Motion is GRANTED and the

hearing on Defendant’s Sentencing is CONTINUED until March 19, 2024, at

1:30 p.m. in courtroom 1905, Richard B. Russell Federal Building, 75 Ted Turner

Drive SW, Atlanta, Georgia, 30303.

      It is also ORDERED that the additional time from January 9, 2024, through

March 19 2024, be excluded pursuant to Title 18, United States Code, Section

3161(h)(7)(A).

      IT IS SO ORDERED this 8th day of January, 2024.


                                     ________________________________
                                     MARK H. COHEN
                                     United States District Judge
